     Case 8:23-cv-01022-KK-DFM Document 31 Filed 12/21/23 Page 1 of 2 Page ID #:231




 1    Natu J. Patel, SBN: 188618
      THE PATEL LAW FIRM, P.C.
 2    22952 Mill Creek Drive
 3    Laguna Hills, California 92653
      Phone:       949.955.1077
 4
      Facsimile: 949.955.1877
 5    NPatel@thePatelLawFirm.com
 6    Attorneys for Plaintiff, STARBUZZ TOBACCO, INC.
 7
 8                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 9
10    STARBUZZ TOBACCO, INC., a             ) Case No.: 8:23−cv−01022−KK−DFMx
11    California corporation,               ) Honorable Kenly Kiya Kato
                                            )
12                Plaintiff,                )
13          vs.                             )
                                            ) ORDER OF DISMISSAL
14
      CYRIL USA, LLC, a Florida limited     )
15    liability company; HOOKAH             )
16
      PARTNER LLC, a Florida limited        )
      liability company; and ANTONIO        )
17    ARBOLEYA, aka ANTONIO                 )
18    ARBOLEYA RODRIGUEZ, aka               )
      ANTONIO ARBOLEDA, an                  )
19    individual.                           )
20                                          )
                  Defendants.               )
21
22
23
24
25
26
27
28
                                            -1-

                                    Order of Dismissal
     Case 8:23-cv-01022-KK-DFM Document 31 Filed 12/21/23 Page 2 of 2 Page ID #:232




 1          The Court, having considered the Joint Request for Dismissal of Action

 2    stipulated to and submitted by Plaintiff Starbuzz Tobacco, Inc. and Defendants
 3
      Cyril USA, LLC, Hookah Partner LLC, and Antonio Arboleya, and with good
 4
 5    cause appearing,
 6
            IT IS HEREBY ORDERED that the entire action is dismissed with
 7
 8    prejudice, with all parties to bear their own costs, interest, and attorneys’ fees in
 9    this matter. The Court retains jurisdiction to entertain such further proceedings and
10
      to enter such further orders as may be necessary or appropriate to implement and
11
12    enforce the provisions of the settlement agreement and permanent injunction in this
13
      action.
14
15          IT IS SO ORDERED.
16
17           December 21, 2023
      DATED: __________________                        ____________________________
18                                                     Honorable Kenly Kiya Kato
                                                       United States District Court Judge
19
20
21
22
23
24
25
26
27
28
                                                 -2-

                                          Order of Dismissal
